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 1 AVENATTI & ASSOCIATES, APC
   Michael J. Avenatti, State Bar No. 206929
 2 Ahmed Ibrahim, State Bar No. 238739
   520 Newport Center Drive, Suite 1400
 3 Newport Beach, CA 92660
   Telephone: 949.706.7000
 4 Facsimile: 949.706.7050

 5   Attorneys for Plaintiff Stephanie Clifford
     a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
     STORMY DANIELS a.k.a. PEGGY
12   PETERSON, an individual,
                                                   PLAINTIFF STEPHANIE
13                      Plaintiff,                 CLIFFORD’S RESPONSE AND
14                                                 OPPOSITION TO OBJECTION TO
           vs.
                                                   PLAINTIFF’S MOTION FOR
15                                                 EXPEDITED JURY TRIAL (DKT
     DONALD J. TRUMP a.k.a. DAVID                  NO. 29) ON THE BASIS OF
16   DENNISON, and individual,
     ESSENTIAL CONSULTANTS, LLC, a                 ALLEGED NON-COMPLIANCE
17   Delaware Limited Liability Company,           WITH LOCAL RULE 7-3 AND THIS
     MICHAEL COHEN and DOES 1                      COURT’S STANDING ORDER
18   through 10, inclusive,
19                                                 Hearing Date: April 30, 2018
                        Defendants.                Hearing Time: 10:00 a.m.
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                                                   Location:     350 West 1st Street
21                                                               Courtroom 10C
22                                                               Los Angeles, CA 90012
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     PLAINTIFF’S RESPONSE AND OPPOSITION TO DEFENDANTS’ OBJECTION TO PLAINTIFF’S MOTION
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 1           Plaintiff Stephanie Clifford (aka Stormy Daniels) (“Plaintiff”) responds to the
 2   objection filed by defendants Essential Consultants LLC (“EC”) and Michael Cohen
 3   (collectively, “Defendants”) to Plaintiff’s motion for expedited jury trial.1 Defendant
 4   Donald Trump has not filed an objection.
 5           Simply stated, Plaintiff did meet and confer with Defendants regarding her request
 6   for an expedited jury trial pursuant to 9 U.S.C. § 4. In the declaration of Plaintiff’s
 7   counsel attached to Plaintiff’s motion, Plaintiff’s counsel stated as follows:
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                   On March 21, 2018, in accordance with Local Rule 7-3, the
 9                 parties met and conferred and thoroughly discussed the relief
                   requested in this Motion. I participated in the conference by
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                   telephone and another attorney from my office participated in
11                 person at the office of counsel for defendant Essential
                   Consultants, LLC. We discussed the substantive grounds for the
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                   Motion and attempted to reach an accord that would eliminate
13                 the need for this Motion. We provided citations to specific legal
                   authority to support our position. We advised counsel for
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                   Defendants that Plaintiff intended to seek a jury trial in
15                 connection with the issue of whether an agreement was
                   formed. We also advised counsel for Defendants that Plaintiff
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                   sought limited discovery on an expedited basis as follows: (1) a
17                 deposition of Mr. Trump of no greater than two (2) hours, (2) a
                   deposition of Mr. Cohen of no greater than two (2) hours, and
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                   (3) no more than ten (10) targeted requests for production of
19                 documents directed to Mr. Trump and Mr. Cohen on various
                   topics relating to the Agreement. The parties, however, were
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                   unable to successfully resolve their dispute. According to
21                 counsel for both Defendants, Defendants’ position is that no
                   discovery should be conducted in this case, and no trial should
22
                   be set, because this case should be summarily ordered to
23                 arbitration.
24   [Dkt. No. 29-2 (Declaration of Michael J. Avenatti in Support of Plaintiff’s Renewed
25   Motion for Expedited Jury Trial Pursuant to Section 4 of the Federal Arbitration Act, and
26   1
    Defendants only object to Plaintiff’s “Motion [for] Expedited Jury Trial” and thus their
27 objection is not to the entirety of the motion, which includes Plaintiff’s request for

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   expedited discovery.
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         PLAINTIFF’S RESPONSE AND OPPOSITION TO DEFENDANTS’ OBJECTION TO PLAINTIFF’S MOTION
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 1   For Limited Expedited Discovery) (“Avenatti Decl.”), ¶7 (emphasis added).]
 2           Defendants’ objection, therefore, should be overruled.        Although Defendants’
 3   counsel claims to not recall a meet and confer regarding Plaintiff’s request for an
 4   expedited jury trial taking place, Plaintiff’s counsel, on the other hand, has a very specific
 5   recollection that this was discussed.2
 6           This factual dispute aside, the real issue of substance in connection with
 7   Defendants’ objection is whether Defendants have been prejudiced by any alleged failure
 8   to meet and confer. Stated differently, had a meet and confer discussion occurred (and
 9   Plaintiff contends it did occur), what would Defendants have done differently?
10           The short answer, in Plaintiff’s view, is “nothing.” EC very clearly does not
11   consent to a jury trial. EC argued at length in its Motion to Compel Arbitration that the
12   parties’ dispute must be resolved by an arbitrator, not the Court. [See Dkt No. 20-1 at 16-
13   17.] This was also the position EC articulated in the March 21, 2018 meet and confer.
14   [Avenatti Decl., ¶7 (“According to counsel for both Defendants, Defendants’ position is
15   that no discovery should be conducted in this case, and no trial should be set, because this
16   case should be summarily ordered to arbitration.”) (emphasis added).]
17           Moreover, by the time Plaintiff filed its renewed motion on April 8, the fact that
18   Plaintiff sought an expedited jury trial pursuant to section 4 of the Federal Arbitration Act
19   was no surprise to Defendants. Plaintiff filed her initial motion on March 28 seeking a
20   jury trial. [Dkt No. 16.] Defendants obviously do not consent to any form of a jury trial.
21   Had Defendants felt otherwise about this form of relief, or believed Plaintiff’s motion
22   was unnecessary for some reason (other than the reason that the case should be arbitrated,
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25   Because this is now the second instance the Court has unfortunately had to deal with an
   issue relating to the parties’ meet and confer efforts, Plaintiff would be open to a
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   requirement by the Court to have all meet and confer discussions between the parties
27 transcribed by a court reporter to avoid any disagreements or confusion about what the
   parties discussed.
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         PLAINTIFF’S RESPONSE AND OPPOSITION TO DEFENDANTS’ OBJECTION TO PLAINTIFF’S MOTION
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 1   which Plaintiff already rejected), then Defendants’ counsel could have reached out to
 2   Plaintiff’s counsel and advised him accordingly.
 3         Indeed, the Court noted in its March 29 order that Plaintiff was seeking an
 4   “expedited jury trial . . . under section four of the Federal Arbitration Act (‘FAA’).” [Dkt
 5   No. 17 at 2.] In fact, the Court quoted section 4 of the FAA in its entirety and bolded the
 6   parts of the statute that create the explicit right of Plaintiff to seek a jury trial. [Id.] The
 7   Court stated that “[w]hile Plaintiff is correct that ‘a party alleged to be in default’ is
 8   entitled to demand a jury trial on a valid question regarding the ‘making of an arbitration
 9   agreement,’ this question must in fact be ‘in issue.’” [Id. at 3 (quoting 9 U.S.C. § 4)
10   (emphasis added).] The Court denied the motion without prejudice as “premature”
11   because no motion to compel arbitration had been filed at that time.
12         Further, Defendant’s objection is of no moment because, as expressly permitted by
13   the Court pursuant to its March 29 order, Plaintiff may simply demand a jury trial in its
14   opposition to the motion to compel arbitration. [See Dkt No. 17 at 2-3 (quoting Castillo
15   v. Lowe's HIW, Inc., No. C13-4590 TEH, 2013 WL 12143002, at *4 (N.D. Cal. Dec. 2,
16   2013) (“If Plaintiff desired a jury trial on this issue, he was required to demand one in his
17   opposition to Defendant’s motion to compel arbitration or prior to the date the opposition
18   brief was due.”). Plaintiff has done that. [Dkt No. 30 at 10 (“Plaintiff demands a jury
19   trial pursuant to 9 U.S.C. § 4 for a determination of whether the Settlement Agreement
20   (which contains the arbitration clause EC seeks to enforce) was ever formed.”).]
21   Therefore, Plaintiff is not even required to file an actual motion seeking a jury trial.
22         Finally, it does not appear from the objection that Defendants argue Plaintiff was
23   required to conduct another meet and confer after the Court denied Plaintiff’s initial
24   motion without prejudice on procedural grounds on March 29. However, to the extent
25   this is Defendants’ position, this argument also lacks merit. Plaintiff’s renewed motion
26   on April 8 advanced virtually identical arguments to the motion Plaintiff filed on March
27   28.   In other words, nothing changed between the two motions that would require
28   Plaintiff to verify with Defendants that they still opposed the relief sought by Plaintiff.
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 1         For these reasons, Plaintiff respectfully requests the Court overrule Defendants’
 2   objection in its entirety. To the extent the Court finds any merit to Defendants’ objection,
 3   Plaintiff requests that Plaintiff’s motion for an expedited jury trial should not be denied,
 4   but that the Court should instead fashion alternative relief directly related to the specific
 5   objection raised by Defendants, such as, for example, ordering the parties to conduct
 6   another meet and confer discussion regarding whether a jury trial should be ordered in
 7   this case.
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     Dated: April 10, 2018                  AVENATTI & ASSOCIATES, APC
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10                                          By:           /s/ Michael J. Avenatti
                                                   Michael J. Avenatti
11                                                 Attorneys for Plaintiff Stephanie Clifford
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                                                   a.k.a. Stormy Daniels a.k.a. Peggy Peterson

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      PLAINTIFF’S RESPONSE AND OPPOSITION TO DEFENDANTS’ OBJECTION TO PLAINTIFF’S MOTION
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